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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     KHAMALE KEOVILAY
6
                         IN THE UNITED STATES DISTRICT COURT
7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,      )
10                                  )     Cr.S. 09-222-GEB
                     Plaintiff,     )
11                                  )     STIPULATION AND ORDER
               v.                   )
12                                  )
     KHAMALE KEOVILAY, et al.,      )     DATE: January 27, 2012
13                                  )     TIME: 9:00 a.m.
                     Defendants.    )     JUDGE: Hon. Garland E. Burrell
14                                  )
     __________________________     )
15
16
          It is hereby stipulated and agreed to by the United States of
17
     America through TODD D. LERAS, Assistant United States Attorney,
18
     defendant, KHAMALE KEOVILAY, by and though his counsel, DENNIS S. WAKS,
19
     Supervising Assistant Federal Defender, defendant, DAVID CHENG by and
20
     through his attorney, ALICE W. WONG, defendant MINGH THAM, by and
21
     through his attorney, MICHAEL B. BIGELOW, defendant DUNG NGUYEN, by and
22
     through his attorney, MICHAEL D. LONG, SANG HIN SAELEE, by and through
23
     his attorney, OLAF W. HEDBERG, defendant LONG NGUYEN, by and through
24
     his attorney, CHRISTOPHER H. WING, and defendant TUAN DAO, by and
25
     through his attorney, KEN GIFFARD, that the status conference set for
26
     Friday, December 2, 2011, be continued to a status conference on
27
     Friday, January 27, 2012, at 9:00 a.m.
28
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1         This continuance is being requested because defense counsel needs
2    additional time to prepare, to review discovery, and to interview
3    witnesses.   The parties have received a large amount of discovery,
4    including Title III documents.
5         Furthermore, the parties stipulate and agree that the interest of
6    justice served by granting this continuance outweighs the best interest
7    of the public and the defendants in a speedy trial.          (18 U.S.C.
8    §3161(h)(7)(A)).
9         Speedy trial time is to be excluded from the date of this order
10   through the date of the status conference set for January 27, 2012,
11   pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
12   (Local Code T4).
13                                     Respectfully submitted,
14                                     DANIEL J. BRODERICK
                                       Federal Defender
15
     DATED: November 30, 2011          /S/ Dennis S. Waks
16
                                       DENNIS S. WAKS
17                                     Supervising Assistant Federal Defender
                                       Attorney for Defendant
18                                     KHAMALE KEOVILAY
19
20                                     /s/ Dennis S. Waks for
21                                     ALICE W. WONG, Attorney for
                                       DAVID CHENG
22
23                                     /s/ Dennis S. Waks for
24                                     MICHAEL B. BIGELOW, Attorney for
                                       MINH THAM
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26                                     /s/ Dennis S. Waks for
27                                     MICHAEL D. LONG, Attorney for
                                       DUNG NGUYEN
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                                             2
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1                                      /s/ Dennis S. Waks for
2                                      OLAF W. HEDBERG, Attorney for
                                       SANG HIN SAELEE
3
4                                      /s/ Dennis S. Waks for
5                                      CHRISTOPHER H. WING, Attorney for
                                       LONG NGUYEN
6
7
                                       /s/ Dennis S. Waks for
8
                                       KEN GIFFARD, Attorney for
9                                      TUAN DAO
10
11                                     BENJAMIN B. WAGNER
                                       United States Attorney
12
13   DATED: November 30, 2011          /s/ Dennis S. Waks for
14                                     TODD D. LERAS
                                       Assistant U.S. Attorney
15
16
17                                     O R D E R
18
19        Based on the stipulation of the parties and good cause appearing
20   therefrom, the Court hereby finds that the failure to grant a
21   continuance in this case would deny defense counsel reasonable time
22   necessary for effective preparation, taking into account the exercise
23   of due diligence.    The Court specifically finds that the ends of
24   justice served by the granting of such continuance outweigh the
25   interests of the public and the defendant in a speedy trial.           Based on
26   these findings and pursuant to the stipulation of the parties, the
27   Court hereby adopts the stipulation of the parties in its entirety as
28   its order.   Time is excluded from computation of time within which the


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1    trial of this matter must be commenced beginning from the date of the
2    stipulation through and including January 27, 2012, pursuant to 18
3    U.S.C. §     3161(h)(7)(A) and (B)(iv) [reasonable time for defense
4    counsel to prepare] and Local Code T4.          A new status conference date is
5    hereby set for January 27, 2012, at 9:00 a.m..
6    Dated:     November 30, 2011
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8                                         GARLAND E. BURRELL, JR.
9                                         United States District Judge

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